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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )          8:94CR95
                                              )
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )          ORDER
MICHAEL J. CRESTONI,                          )
                                              )
                     Defendant.               )

      On the oral motion of government’s counsel, and with the agreement of defense
counsel,

       IT IS ORDERED that Defendant Crestoni’s revocation hearing is rescheduled to
Thursday, April 17, 2008, at 12:30 p.m., before the undersigned United States district judge,
in Courtroom No. 1, United States Courthouse and Federal Building, 100 Centennial Mall
North, Lincoln, Nebraska. The defendant shall be present unless excused by the court.

       March 31, 2008.                    BY THE COURT:

                                          s/ Richard G. Kopf
                                          United States District Judge
